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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY
----------------------------------------------------------------
MICHAEL CLAUSER                                                :
                                                               :   Civil Action No.: 19-cv-04980
                                                               :
Plaintiff,                                                     :
                                                               :
     v.                                                        :
                                                               :
                                                               :
PARETO SOLUTIONS GROUP, INC.                                   :
                                                               :
Defendant.                                                     :
----------------------------------------------------------------

     CONSENT MOTION TO APPROVE SETTLEMENT AND DISMISS
                 LAWSUIT WITH PREJUDICE

         Plaintiff Michael Clauser (“Plaintiff”), with the consent of Defendant Pareto

Solutions Group, Inc. (“Defendant”), hereby requests that the Court approve the

parties’ settlement agreement in the above-captioned matter. Because Plaintiff’s

action and claims arise under the Fair Labor Standard Act (“FLSA”), the parties’

settlement agreement must be approved by this Court and said approval must be

entered as a stipulated final judgment.

I.       Legal Principles

         Pursuant to the case law regarding settlement of FLSA claims, there are two

ways in which claims under the FLSA can be settled and released by employees.

First, section 216(c) of the FLSA allows employees to settle and waive their claims

under the FLSA if the payment of unpaid wages by the employer to the employee

is supervised by the Secretary of Labor. See 29 U.S.C. 216(c). Second, in the

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context of a private lawsuit brought by an employee against an employer under

section 216(b) of the FLSA, an employee may settle and release FLSA claims

against an employer if the parties present the district court with a proposed

settlement and the District Court enters a stipulated judgment approving the

fairness of the settlement. See e.g. Morales v. PepsiCo, Inc., No. 11-6275 (AET),

2012 U.S. Dist. LEXIS 35284, at *2 (D.N.J. Mar. 13, 2012); see also Lynn’s Food

Stores, Inc. v. United States, 679 F.2d 1350 (11th Cir. 1982).

II.   Background and Summary of Settlement Agreement

      On February 20, 2019, Plaintiff filed this lawsuit alleging a violation of the

Fair Labor Standards Act, 29 U.S.C. § 201, et seq. (“FLSA”) against Defendant in

the United States District Court for the District of New Jersey. Defendant has not

yet filed a responsive pleading and preserves all applicable defenses. The

Settlement Agreement, which seeks to resolve all claims alleged in Plaintiff’s

lawsuit, constitutes the parties’ good faith effort to reach a resolution of this matter.

During the litigation and settlement of this action, the parties were represented by

experienced counsel. The Court is requested to approve this settlement, including

the release of Plaintiff’s FLSA claims against Defendant.

      The parties agree that the instant action involves disputed issues regarding

the payment of wages. Plaintiff alleges a violation of the FLSA, and the parties

dispute whether Plaintiff may state a claim under the FLSA. The parties agree that



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their settlement negotiated and reached reflects a reasonable compromise of the

disputed issues. Counsel for the parties discussed the disputed factual and legal

issues prior to reaching this settlement, and both parties have voluntarily agreed to

the terms reached in the Settlement Agreement. A copy of the parties’ Settlement

Agreement and Release (“Settlement Agreement”) is attached hereto as Exhibit A.

The proposed settlement includes a full release of all claims by Plaintiff against

Defendant in exchange for the full amount of wages Plaintiff alleges he is owed,

plus liquidated damages and attorneys’ fees.

III.   Conclusion

       Plaintiff respectfully requests that the Court approve the attached Settlement

Agreement and dismiss this lawsuit with prejudice. The parties agree that by

entering into the Settlement Agreement, and by consenting to entry of the Consent

Order Approving Settlement and Dismissing the Case with Prejudice, Defendant is

not admitting any liability and preserves all defenses which may be available to it.

For the Court’s convenience, a proposed order is attached hereto as Exhibit B.




                    [SIGNATURES ON FOLLOWING PAGE]



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        Submitted this 6th day of March, 2019.


 CONSENTED TO BY:                            BY:

 /s/ Jeffrey Douglas                         /s/ Samuel A. Dion
 Jeffrey G. Douglas                          Samuel A. Dion
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 Attorney for Defendant


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                      Exhibit A
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                       Exhibit B
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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW JERSEY
----------------------------------------------------------------
MICHAEL CLAUSER                                                :
                                                               : Civil Action No.: 19­cv­04980­NHL
                                                               :
Plaintiff,                                                     :
                                                               :
     v.                                                        :
                                                               :
                                                               :
PARETO SOLUTIONS GROUP, INC.                                   :
                                                               :
Defendant.                                                     :
----------------------------------------------------------------

               [PROPOSED] ORDER APPROVING SETTLEMENT
                AND DISMISSING LAWSUIT WITH PREJUDICE

       This matter is before the Court upon the Consent Motion to Approve the

Parties’ Settlement Agreement. The Court has reviewed the Motion and is fully

advised on the matter; it is hereby ORDERED AND ADJUDGED:

1.     The Consent Motion to Approve the Parties’ Settlement Agreement is
       GRANTED.

2.     The Court finds that the agreed-upon terms and conditions of settlement of
       this litigation, in which certain claims arise under the Fair Labor Standards
       Act, are fair and reasonable under the circumstances, and the Settlement
       Agreement is hereby APPROVED.

3.     This action is hereby DISMISSED WITH PREJUDICE, with costs and
       fees to be paid pursuant to the terms of the Settlement Agreement.

               SO ORDERED this ___ day of March, 2019.

                                                      _________________________
                                                      Judge Noel L. Hillman
                                                      United States District Court,
                                                      District of New Jersey
